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                 NOTE: This order is nonprecedential.


     United States Court of Appeals
         for the Federal Circuit
                           ______________________

           CONTINENTAL SERVICE GROUP, INC.,
                    Plaintiff-Appellee

             PIONEER CREDIT RECOVERY, INC.,
                     Plaintiff-Appellant

              COLLECTION TECHNOLOGY, INC.,
                    Intervenor-Plaintiff

       PROGRESSIVE FINANCIAL SERVICES,INC.,
              Intervenor-Plaintiff-Appellee

                   ALLTRAN EDUCATION, INC.,
                    Intervenor-Plaintiff-Appellant

                                           v.

                             UNITED STATES,
                             Defendant-Appellant

     CBE GROUP, INC., PREMIERE CREDIT OF
   NORTH AMERICA, LLC, GC SERVICES LIMITED
     PARTNERSHIP, FMS INVESTMENT CORP.,
   VALUE RECOVERY HOLDINGS, LLC, WINDHAM
       PROFESSIONALS, INC., AUTOMATED
          COLLECTION SERVICES, INC.,
              Intervenor-Defendants

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 2         CONTINENTAL SERVICE GROUP INC.    v. UNITED STATES



       ACCOUNT CONTROL TECHNOLOGY, INC.,
                    Plaintiff

                              v.

                     UNITED STATES,
                     Defendant-Appellant

   PREMIERE CREDIT OF NORTH AMERICA, LLC,
     GC SERVICES LIMITEDPARTNERSHIP, FMS
      INVESTMENT CORP., VALUE RECOVERY
  HOLDINGS, LLC, CBE GROUP, INC., AUTOMATED
      COLLECTION SERVICES, INC., WINDHAM
    PROFESSIONALS, INC., TEXAS GUARANTEED
             STUDENT LOAN CORP.,
               Intervenor-Defendants

                ALLTRAN EDUCATION, INC.,
                 Intervenor-Defendant-Appellant

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                ALLTRAN EDUCATION, INC.,
                     Plaintiff-Appellant

                              v.

                     UNITED STATES,
                     Defendant-Appellant

     PREMIERE CREDIT OF NORTH AMERICA, LLC,
      GC SERVICES LIMITED PARTNERSHIP, FMS
     INVESTMENT CORP., CBE GROUP, INC., VALUE
        RECOVERY HOLDINGS, LLC, WINDHAM
               PROFESSIONALS, INC.,
                 Intervenor-Defendants

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 CONTINENTAL SERVICE GROUP INC.    v. UNITED STATES        3



     PROGRESSIVE FINANCIAL SERVICES, INC.,
                Plaintiff-Appellee

   PERFORMANT RECOVERY, INC., COLLECTION
      TECHNOLOGY, INC., VAN RU CREDIT
    CORPORATION, ALLIED INTERSTATE LLC,
             Intervenor-Plaintiffs

                              v.

                     UNITED STATES,
                     Defendant-Appellant

   PREMIERE CREDIT OF NORTH AMERICA, LLC,
      GC SERVICES LIMITED PARTNERSHIP,
              Intervenor-Defendants

                ALLTRAN EDUCATION, INC.,
                 Intervenor-Defendant-Appellant

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          COLLECTION TECHNOLOGY, INC.,
                    Plaintiff

     PROGRESSIVE FINANCIAL SERVICES, INC.,
            Intervenor-Plaintiff-Appellee

                              v.

                     UNITED STATES,
                     Defendant-Appellant

      CBE GROUP, INC., PREMIERE CREDIT OF
             NORTH AMERICA, LLC,
              Intervenor-Defendants

                ALLTRAN EDUCATION, INC.,
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 4         CONTINENTAL SERVICE GROUP INC.    v. UNITED STATES



                Intervenor-Defendant-Appellant

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          VAN RU CREDIT CORPORATION,
                    Plaintiff

      PROGRESSIVE FINANCIAL SERVICES, INC.,
             Intervenor-Plaintiff-Appellee

                              v.

                     UNITED STATES,
                     Defendant-Appellant

     PREMIERE CREDIT OF NORTH AMERICA, LLC,
                Intervenor-Defendant

                ALLTRAN EDUCATION, INC.,
                 Intervenor-Defendant-Appellant
                     ______________________

  2017-2155, 2017-2156, 2017-2157, 2017-2158, 2017-2159,
  2017-2160, 2017-2210, 2017-2212, 2017-2214, 2017-2215,
             2017-2216, 2017-2221, 2017-2342
                 ______________________

     Appeals from the United States Court of Federal
 Claims in Nos. 1:17-cv-00449-SGB, 1:17-cv-00493-SGB,
 1:17-cv-00499-SGB, 1:17-cv-00517-SGB, 1:17-cv-00558-
 SGB, 1:17-cv-00578-SGB, 1:17-cv-00633-SGB, Chief
 Judge Susan G. Braden.
                 ______________________

 PER CURIAM.
                          ORDER
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 CONTINENTAL SERVICE GROUP INC.    v. UNITED STATES        5



     Currently before the court are appeals from the
 United States Court of Federal Claims’ May 31, 2017,
 preliminary injunction order. The case was argued on
 December 8, 2017.
     Shortly after the Court of Federal Claims’ May 31,
 2017, preliminary injunction order, appellants filed in
 that court a motion to stay the injunction pending appeal.
 On June 19, 2017, appellants filed an emergency motion
 for stay pending appeal in this court. On July 18, 2017,
 this court determined to hold appellants’ motions in
 abeyance until the Court of Federal Claims ruled on
 appellants’ motions for stay pending appeal in that court.
 However, the Court of Federal Claims took no action on
 the motions until October 31, 2017, when it denied the
 motions after this court instructed the parties to inquire
 as to why there had not yet been a ruling.
      On November 8, 2017, this court denied without prej-
 udice the motions in this court to stay the preliminary
 injunction pending appeal and instructed the parties to
 file replacement briefs, which were to include any re-
 newed requests for stay pending appeal. In their amended
 opening briefs, appellants again requested that this court
 stay the Court of Federal Claims’ May 31, 2017, prelimi-
 nary injunction order.
      This court considers four factors in evaluating a re-
 quest for a stay pending appeal: (1) whether the stay
 applicant has made a strong showing of likelihood of
 success on the merits; (2) whether the applicant will be
 irreparably injured absent a stay; (3) whether issuance of
 the stay will substantially injure the other parties inter-
 ested in the proceeding; and (4) where the public interest
 lies. See Hilton v. Braunskill, 481 U.S. 770, 776 (1987).
     Upon consideration thereof,
     IT IS ORDERED THAT:
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 6          CONTINENTAL SERVICE GROUP INC.   v. UNITED STATES



     Appellants’ requests are DENIED insofar as the pre-
 liminary injunction enjoined “authorizing the purported
 awardees to perform on the contract awards under Solici-
 tation No. ED-FSA-16-R-0009.” Appellants’ requests are
 GRANTED insofar as the preliminary injunction enjoined
 “transferring work to be performed under the contract at
 issue in this case to other contracting vehicles to circum-
 vent or moot this bid protest.”
                                   FOR THE COURT

     December 8, 2017              /s/ Peter R. Marksteiner
          Date                     Peter R. Marksteiner
                                   Clerk of Court
